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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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 PASCUAL PORFIRIO MORENO,                                     MEMO ENDORSED
                                                                      :
                                                                      :
                                                                      :
                                     Plaintiff                        :
                                                                      : Case No.: 19-CV-09009
                   vs.                                                :
                                                                      :    SUGGESTION OF DEATH
                                                                      :  UPON THE RECORD UNDER
 MORRISON MANAGEMENT LLC,                                             :           FRCP 25(A)(1)
                                                                      :
                                     Defendant.                       :
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        Defendant Morrison Management LLC, by its attorneys, Tannenbaum Helpern Syracuse

& Hirschtritt LLP, hereby gives notice of and suggests upon the record, pursuant to Rule

25(a)(1) of the Federal Rules of Civil Procedure, Defendant’s recently discovered death of

Pascual Porfirio Moreno, the Plaintiff in this action. Pascual Porfirio Moreno passed away on or

about September 16, 2020.

Dated: New York, New York
       October 8, 2020
                                                   TANNENBAUM HELPERN
                                                   SYRACUSE & HIRSCHTRITT LLP

                                                   _____/s/ Andrew P. Yacyshyn
                                                   By: Andrew P. Yacyshyn
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                                                   Morrison Management LLC
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       Attorneys for Plaintiff Pascual Porfirio Moreno
       [via ECF]
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In light of Defendant's recent filing, the Court hereby WITHDRAWS its prior
Order requiring the parties to schedule a mediation by October 22, 2020.
(Dkt. #26). The Court will wait for further word from Plaintiff's counsel.

Dated:   October 9, 2020            SO ORDERED.
         New York, New York




                                    HON. KATHERINE POLK FAILLA
                                    UNITED STATES DISTRICT JUDGE
